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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ROADGET BUSINESS PTE. LTD.,

                              Plaintiff,                  Case No.: 1:23-cv-16262

       vs.

THE INDIVIDUALS, CORPORATIONS,                            Judge Jeffrey I. Cummings
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
TO THE COMPLAINT,

                              Defendants.

  PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT
              AGAINST DEFENDANTS NOS. 19, 30, 31, 32, AND 33

       Plaintiff Roadget Business Pte. Ltd., (“Plaintiff” or “Roadget”), by its counsel, moves

this Court to enter Default and Default Judgment pursuant to Federal Rules of Civil Procedure

55(a) and 55(b)(2), against Defendants Nos. 19, 30, 31, 32, and 33 (“Defaulting Defendants”) as

listed on Schedule A, attached hereto as Exhibit A. A Memorandum of Law in support of this

motion is filed concurrently with the motion.
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May 23, 2024                            Respectfully submitted,

                                        By: /s/ Steven J. Horowitz
                                         Steven J. Horowitz
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                                         Deepa A. Chari
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                                        R. oadget Business Pte. Ltd.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2023, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a

website and I will send an e-mail to the e-mail addresses provided by third parties for each of the

Defaulting Defendants, including a link to said website.




 May 23, 2024                                     Respectfully submitted,

                                                  By: /s/ Steven J. Horowitz
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